        Case 2:11-cr-00048-JCM-CWH             Document 300        Filed 11/09/12     Page 1 of 1



 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                         )
                                                       )
 9                         Plaintiff,                  )
                                                       )
10           v.                                        )          2:11-CR-048-JCM-(CWH)
                                                       )
11   NANCY MAGENO,                                     )
                                                       )
12                         Defendant.                  )

13                                      ORDER OF FORFEITURE

14          This Court found on June 6, 2012, that NANCY MAGENO shall pay a criminal forfeiture

15   money judgment of $44,400.00 in United States Currency, pursuant to Fed. R. Crim. P. 32.2(b)(1)

16   and (2); and Title 21, United States Code, Section 853(a)(1) and (p). Order of Forfeiture, ECF No.

17   240.

18          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

19   States recover from NANCY MAGENO a criminal forfeiture money judgment in the amount of

20   $44,400.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); and Title

21   21, United States Code, Section 853(a)(1) and (p).

22                November
            DATED this ______ 9,
                              day2012.
                                  of __________________, 2012.

23

24
                                                UNITED STATES DISTRICT JUDGE
25

26
